Case 3:13-cv-00297-JAM Document 646-1 Filed 07/15/20 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

BRUCE KIRBY, INC. ET AL
CASE NO. 3:13-CV-00297 (JAM)
Plaintiffs,

Vs

LASERPERFORMANCE (EUROPE)
LIMITED, ET AL.

Defendants.
AFFIDAVIT FOR JUDGMENT BY CONFESSION

I, John Shad, as the authorized agent for Quarter Moon, Incorporated (hereafter, “QMI’)
and for LaserPerformance(Europe), Limited (hereafter, “LPE”) being duly sworn,
deposes and states:

le I am a duly authorized agent of both QMI and LPE, defendants in the above
captioned action in the United States District Court for the District of Connecticut.

a QMI and LPE jointly and severally, confess judgment in this Court in favor of
Plaintiff Global Sailing, Limited (hereafter, “GSL”) for the principal sum of $754,609.28
($904,609.28 less $150,000.00 paid on June 22, 2020 and June 26, 2020) as embodied in the
Settlement Agreement dated as of June 15, 2020, as amended.

3, This Confession of Judgment relates to a claim arising out of the following facts:

. GSL, LPE and QMI are successors in interest to separate contracts known
as “Builder Agreements” respectively executed in 1983 and 1989.

. GSL commenced a complaint against QMI and LPE in the United States
District Court for the District of Connecticut now bearing Case No: 3:13-
CV-00297 (the “’297 litigation”).

* The parties, desirous to resolve all disputes between them, executed a

Settlement Agreement predicated in part upon entry of this Confession of
Judgment.

Page | of 2

 
Case 3:13-cv-00297-JAM Document 646-1 Filed 07/15/20 Page 2 of 2

4, QMI and LPE have agreed that this Confession of Judgment may be filed with the
Court and that judgment may be entered immediately, with full legal effect, following
the signature hereof. QMI and LPE further agree that in the event it fails to satisfy its
obligations as set forth within the Settlement Agreement, plaintiff GSL may apply for
execution of the judgment.

tl Through this affidavit, QMI and LPE waive any and all defenses to the
enforcement of this Confession of Judgment, except as provided in the Settlement
Agreement. This Confession of Judgment shall in no way impair any other rights or
remedies available to Plaintiff in enforcing the Settlement Agreement.

6. QMI and LPE were represented in regard to this Confession of Judgment by
Neubert, Pepe, and Monteith, P.C., 195 Church Street, 13th Floor, New Ha ven, CT 06510,
and have consulted with said counsel regarding the entry of this Confession of Judgment,
the enforceability of this Confession of Judgment, and the form of this Confession of
Judgment. Said counsel has examined this Confession of Judgment and advised QMI and
LPE as to the waiver of their respective rights and defenses under the confession of
judgment procedure.

7. This Confession of Judgment is not for the purpose of securing GSL against a
contingent liability.

I declare under penalty of perjury that the foregoing statements are true and
correct,

tk
Executed on June SO , 2020.

    
  

NCE (EUROPE), QU eR MOON, INCORPORATED

   

 

   

 

    
 

    

: we By:

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Page 2 of 2

 
